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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Doris Agbefe,                                   )
                Plaintiff,                      )       Case No. 19 CV 4397
                                                )
        v.                                      )       The Honorable Gary S. Feinerman
                                                )
Board of Education of the                       )
City of Chicago,                                )
Defendant.                                      )

             DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO
                  PLAINTIFF’S FIRST AMENDED COMPLAINT

        Defendant the Board of Education of the City of Chicago (the “Board”), through its

undersigned counsel, answers Plaintiff’s First Amended Complaint [ECF No. 73] as follows:

                                               PARTIES

        1.      Plaintiff is a 59-year-old (DOB February 4, 1962) Black, female, citizen of the State of

Illinois, who resides in the County of Cook, State of Illinois.

        ANSWER:          Defendant admits its records reflect Plaintiff Doris Agbefe self-reported as a

Black female born on February 4, 1962 and her last known address was in Chicago, Illinois in Cook

County. Defendant lacks knowledge or information sufficient to form a belief about the truth of the

remaining allegations contained in this paragraph, and therefore denies the same.

        2.      Defendant Board of Education of the City of Chicago is a body politic and corporate,

with its principal place of business in Chicago, Illinois. At all relevant times, Defendant employed

more than 500 regular employees.

        ANSWER:          Defendant admits the allegations of this paragraph.
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                           JURISDICTION, VENUE, AND PREREQUISITES

        3.       Plaintiff brings this action for damages and equitable relief pursuant to Title VI of the

Civil Rights Act of 1964, 42 U.S.C. §§ 2000d, et seq., Title IX of the Education Amendments of 1972,

20 U.S.C §§ 1861, et seq., and 42 U.S.C. § 1983.

        ANSWER:           Defendant admits that Plaintiff has filed claims under the above cited statutes,

but denies that Plaintiff was subject to unlawful harassment, discrimination, retaliation, and/or are

entitled to any relief.

        4.       Jurisdiction for this action is conferred upon the Court by 28 U.S.C. §§ 1331 and 1343.

        ANSWER:           Defendant admits this Court has jurisdiction over this action, but denies that

any unlawful conduct or wrongdoing for which it may be liable or that Plaintiff is entitled to any relief.

        5.       Venue is appropriate pursuant to 28 U.S.C. § 1391, because Defendant is a resident of

this judicial district and the events giving rise to this claim occurred in this district.

        ANSWER:           Defendant admits that venue is proper, but denies any unlawful conduct or

wrongdoing for which it may be liable or that Plaintiff is entitled to any relief.

                                            JURY DEMAND

        6.       Plaintiff demands a jury trial on all issues so triable.

        ANSWER:           Defendant admits Plaintiff demands a jury trial, but denies any unlawful

conduct or wrongdoing for which it may be liable or that Plaintiff is entitled to any relief.

                                     FACTUAL BACKGROUND

        7.       Plaintiff is a tenured teacher, hired by the Board in approximately October, 1991.

        ANSWER:           Defendant admits Plaintiff was hired by the Board of Education on October

7, 1991. Defendant also admits that Plaintiff was a tenured teacher before retiring in October 1991.

Defendant further admits that Plaintiff is now a retiree substitute teacher for the Board. Defendant

denies the remaining allegations of this paragraph.



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        8.      Plaintiff has been a science teacher at York Alternative High School (“York”) since

approximately 2014. York is a facility that provides services to juveniles detained at Cook County Jail,

allowing them to continue their education while incarcerated.

        ANSWER:         Defendant admits Plaintiff was a teacher at York from December 17, 2013 to

October 21, 2020 and has taught science during that time period. Defendant further admits York is a

high school that serves juveniles who are being detained at the Cook County Department of

Corrections, allowing them to continue their education while incarcerated. Defendant denies the

remaining allegations of this paragraph.

        9.      Plaintiff Agbefe has at all times fulfilled her job duties satisfactorily.

        ANSWER:         Defendant denies the allegations of this paragraph.

        10.     At all relevant times, the student population at York has been approximately 80%

African-American, 20% Hispanic, with a negligible number of students from other racial and ethnic

subgroups.

        ANSWER:         Defendant admits that on the date of this filing, the student population at York

is 76.8% Black, 20.8% Hispanic, 1.2% White, and 1.2% Other. Defendant denies the remaining

allegations of this paragraph.

        11.     At all relevant times, the great majority of the student population at York has been

low income.

        ANSWER:         Defendant admits that on the date of this filing, 82.1% of students at York are

low income learners. Defendant denies the remaining allegations of this paragraph.

        12.     In June 2015, Plaintiff was transferred to Division 9, the maximum-security division.

        ANSWER:         Defendant admits that Plaintiff worked as a teacher in Division 9, which is a

maximum-security division at York. Defendant denies that Plaintiff was “transferred” to Division 9

in June 2015.



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        13.        Since being transferred to Division 9, Plaintiff has been subjected to sexual

harassment, unwarranted discipline, unfair performance evaluations, and differential terms and

conditions of employment by the Board and its employees, including York’s principal, Sharnette Sims,

and James Ciesil, Deputy General Counsel for the Board of Education of the City of Chicago.

        ANSWER:           Defendant admits Plaintiff worked in Division 9, but denies that she was

“transferred.” Defendant denies the remaining allegations of this paragraph.

        14.        Plaintiff’s students frequently expose themselves and masturbate in class, stare at her

while pleasuring themselves, and use sexually explicit language towards her.

        ANSWER:           Defendant denies the allegations of this paragraph.

        15.        Plaintiff’s students ridicule her in a demeaning and sexually suggestive form, making

statements such as “she likes it,” “she wants it, and “she needs it.”

        ANSWER:           Defendant denies the allegations of this paragraph.

        16.        On occasion, the students have touched Plaintiff inappropriately and threatened her

personal safety.

        ANSWER:           Defendant denies the allegations of this paragraph.

        17.        This behavior of the students took place on an almost daily basis while Plaintiff was

assigned to Division 9.

        ANSWER:           Defendant denies the allegations of this paragraph.

        18.        Plaintiff complained of the behavior no less than 17 times during her time in

Division 9.

        ANSWER:            Defendant denies the allegations of this paragraph.

        19.        Although the administration promised Plaintiff that something would be done, and

that the offending students would be removed from Plaintiff’s class, generally the administration’s




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response to Plaintiff’s complaints was to remove a student from the classroom temporarily, with no

consequences, and then return him to class the next day.

        ANSWER:         Defendant denies the allegations of this paragraph.

        20.     Plaintiff was promised a meeting with Principal Sims regarding student conduct, but

Principal Sims failed to meet with Plaintiff.

        ANSWER:         Defendant denies the allegations of this paragraph.

        21.     The students’ sexual behavior violated the Student Code of Conduct for CPS.

        a.      Under the Code, such sexual conduct falls in the category of “most seriously disruptive

behaviors,” which includes “unwelcomed sexual conduct, indecent exposure, transmitting sexually

suggestive image through information technology devices, or other sexual activities which do not

involve the use of force.”

        b.      The Student Code of Conduct recommends numerous interventions and

consequences, such as suspension or termination from the school.

        c.      The Student Code of Conduct also provides for consequences and interventions for

“[p]rofane, obscene, indecent, and immoral or seriously offensive language and gestures,

…harassment” based on sex.

        ANSWER:         The Board’s, “Student Code of Conduct” speaks for itself and Defendant

denies that Plaintiff completely, and therefore accurately, cites the Student Code of Conduct.

Defendant further denies any statements inconsistent with the Student Code of Conduct. Defendant

denies the remaining allegations of this paragraph, including sub-paragraphs (a) through (c).

        22.     The York administration failed and refused to take the steps set forth in the Student

Code of Conduct to address the behaviors, and discouraged certain disciplinary actions.

        ANSWER:         Defendant denies the allegations of this paragraph.




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          23.     Additionally, the York administration disregarded their obligations to notify

authorities of student disciplinary action. At relevant times, York has only reported a maximum of ten

incidents to CPS each year, resulting in a false and fraudulent picture of safety and security at the

school.

          ANSWER:        Defendant denies the allegations of this paragraph.

          24.     The sexual harassment and lack of support from Defendants took a devastating toll

on Agbefe, who was forced to take a medical leave of absence.

          ANSWER:        Defendant admits Plaintiff took a leave of absence during her employment

with the Board, but denies that Plaintiff took a leave of absence because of any Board action or

inaction. Defendant denies that Plaintiff was subjected to sexual harassment. Defendant denies that it

failed to support Plaintiff during her employment. Defendant lacks knowledge or information

sufficient to form a belief about the truth of the allegation that the alleged conduct took a devastating

toll on Plaintiff, and therefore denies the same. Defendant denies the remaining allegations in

this paragraph.

          25.     During her treatment, Plaintiff also attempted to address the source of suffering,

contacting the Board’s compliance office, the Equal Opportunity Compliance Office (“EOCO”). No

ameliorative action was taken.

          ANSWER:        Defendant admits Plaintiff contacted the Board’s compliance office, the

EOCO. Defendant denies the remaining allegations of this paragraph.

          26.     On or about May 17, 2018, Agbefe filed a charge of discrimination with the Equal

Employment Opportunity Commission and the Illinois Department of Human Rights complaining

of discrimination based on sex and retaliation. Those charges remain pending.

          ANSWER:        Defendant admits Plaintiff filed Charge No. 440-2018-05396 with the Equal

Employment Opportunity Commission on or near May 18, 2018, and alleged discrimination based on



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sex and retaliation. Defendant denies that it is liable for any unlawful conduct. Defendant denies the

remaining allegations of this paragraph.

                                       OIG Investigation and Report

        27.     In the Fall of 2016, the Office of the Inspector General (“OIG”) conducted an

investigation into allegations of fraudulent practices at York.

        ANSWER:         Defendant admits the OIG investigated alleged acts of “fraudulent and

improper practices” at York, which was summarized in a June 30, 2017 “Executive Memo” to the

Board. Defendant denies the allegation that the OIG started its investigation in the fall of 2016.

Defendant further denies the remaining allegations of this paragraph.

        28.     In a report dated September 12, 2017, the OIG stated that York engaged in a practice

of falsely inflating enrollment and attendance data and awarding credits that were not earned. The

OIG also found that multiple teachers were pressured into issuing credits to students who had not

earned them.

        ANSWER:         The Board admits the OIG issued a report (the “OIG Report”) on or about

September 12, 2017. The OIG Report speaks for itself and Defendant denies that Plaintiffs

completely, and therefore accurately, cite the statements contained in the OIG Report. Defendant

further denies any statements inconsistent with the OIG Report.

        29.     The OIG report also revealed sexual improprieties at York, finding that many of the

teachers interviewed were discouraged from reporting dangerous incidents at the school. These

incidents included: assaults, chronic classroom masturbation, and threatening conduct by an organized

faction of students who committed sexual assaults in the jail.

        ANSWER:         The OIG Report speaks for itself and Defendant denies that Plaintiff

completely, and therefore accurately, cites the statements contained in the OIG Report. Defendant

further denies any statements inconsistent with the OIG Report.



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       30.       Based on the findings of its investigation, the OIG recommended that Principal Sims

be terminated.

       ANSWER:          Defendant admits the allegations of this paragraph.

       31.       In response to the OIG report, the Board temporarily removed Principal Sims from

York, and purported to conduct their own investigation, led by Deputy General Counsel James Ciesil,

Caucasian, male.

       ANSWER:          Defendant admits that Principal Sims was employed by the Board from

January 3, 2000 to the present and her duties were temporarily reassigned to Network 11 after the

OIG plan was released, but she resumed her principal duties at York on November 9, 2017 as

announced in a CPS press release. Defendant further admits former Deputy General Counsel, James

Ciesil, self-reported as a Caucasian male, and was a member of the Board’s Law Department.

Defendant admits Mr. Ciesil conducted an investigation, review, and analysis of the OIG investigation.

Defendant denies the remaining allegations of this paragraph.

       32.       Mr. Ciesil interviewed Plaintiff. In response to his questions, Plaintiff confirmed

allegations that her colleagues made to the OIG.

       ANSWER:          Defendant admits Mr. Ciesil interviewed Plaintiff and she responded to his

questions as part of the Law Department’s investigation, review, and analysis of the OIG investigation.

Defendant lacks knowledge or information sufficient to form a belief about the truth of the allegation

that Plaintiff confirmed the allegations that she and her colleagues made to the OIG. Defendant denies

the remaining allegations of this paragraph.

       33.       Additionally, Plaintiff confided in Mr. Ciesil that she felt unsafe at work, and that

students were masturbating in the classroom and making inappropriate sexual advances.




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           ANSWER:       Defendant admits Plaintiff told Mr. Ciesil she “felt unsafe in her work

environment” as was reported in Ciesil’s “Memorandum,” dated November 2, 2017. Defendant denies

the remaining allegations of this paragraph.

           34.   In candor, Plaintiff told Mr. Ciesil that she felt she had been pressured into giving an

unearned credit to a student.

           ANSWER:       Defendant admits Plaintiff told Mr. Ciesil she “felt that she was pressured but

not forced to issue credits to students,” as was reported in Ciesil’s “Memorandum,” dated November

2, 2017. Defendant denies the remaining allegations of this paragraph.

           35.   Due to the nature of the report, Mr. Ciesil stated that employee names would be

redacted for confidentiality. However, his “Confidential” investigative report was released to the

media, in only partially redacted form. It was published by the Chicago Sun-Times and other media

outlets.

ANSWER:          Defendant admits Mr. Ciesil prepared a “Memorandum,” dated November 2, 2017.

Defendant further admits Mr. Ciesil wrote in his Memorandum that the “Law Department’s School

Law Unit has redacted the [Memorandum] to protect the confidential information it contains.”

Defendant also admits parts of the Memorandum was redacted and provided to the media and

subsequently published in the Chicago Sun-Times and other media outlets. Defendant denies the

remaining allegations of this paragraph.

           36.   The poorly redacted report disclosed Plaintiff’s name explicitly, and recounted her

grievances with York.

           ANSWER:       Defendant admits Plaintiff was named in Mr. Ciesil’s Memorandum.

Defendant denies the Memorandum was poorly redacted. Defendant denies the remaining allegations

of this paragraph.




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        37.     In his report, Mr. Ciesil downplayed the disciplinary problems at York, and wrote that

nearly every teacher interviewed stated a “threat” by a student at York is a rare event. He concluded

that many teachers stated that they had never been threatened in a manner that left them in fear for

their bodily safety, or felt sexually compromised.

        ANSWER:         Defendant admits Mr. Ciesil wrote the following in his Memorandum:

“[n]early every teacher interviewed by this author stated that a ‘threat’ by a student at York is a rare

event. Many teachers stated that they had never been ‘threatened’ in which they feared for their bodily

safety or felt sexually compromised.” Ciesil’s Memorandum speaks for itself and Defendant denies

that Plaintiff completely, and therefore accurately, cites statements contained in the Memorandum.

Defendant further denies any statements inconsistent with the Memorandum. Defendant denies the

remaining allegations of this paragraph.

        38.     Mr. Ciesil also stated that experts that entered York from the Network or Central

Office had never seen a student threaten anyone.

        ANSWER:         Defendant admits that in his Memorandum, Mr. Ciesil wrote, “every

educational expert that had entered York from the Network or Central Office had never seen a student

‘threaten’ anyone…Thus, the assertion by the OIG that ‘many’ York teachers complained of being

threatened at York lacks a basis in fact.” Defendant denies the remaining allegations of this paragraph.

        39.     Mr. Ciesil singled out Plaintiff as the only person he interviewed who expressed fear

for their safety while at York, portraying Plaintiff as overreacting and misrepresenting the situation.

        ANSWER:         Defendant denies the allegations of this paragraph.

        40.     In addition, Mr. Ciesil stated that there was a “racial” element to the OIG investigation,

that those teachers who were critical of Principal Sims and York were disgruntled employees with

performance issues, and insinuated that those teachers and staff who were critical of Principal Sims

and York were biased by race.



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        ANSWER:         Defendant admits that in his Memorandum, Mr. Ciesil stated there was a

“racial element to the OIG’s investigation” and “[t]he racial implications are also apparent.” The

Memorandum speaks for itself and Defendant denies that Plaintiffs completely, and therefore

accurately, cite the statements contained in the Report. Defendant denies any inconsistent statements

with the Report. Defendant denies the Memorandum insinuated that those teachers and staff who

were critical of Principal Sims and York were biased by race. Defendant further denies the remaining

allegations of this paragraph.

        41.     The Board’s release of the investigative report was unprecedented. The Board had

never released a public report attacking an investigation by OIG.

        ANSWER:          Defendant denies the allegations of this paragraph.

        42.     After Mr. Ciesil’s report was released, the Network Chief recommended that everyone

read the report, vindicating Dr. Sims.

        ANSWER:         Defendant denies the allegations of this paragraph.

        43.     Rejecting the OIG’s recommendation, the Board reinstated Dr. Sims, an action that

was also unprecedented.

        ANSWER:         Defendant admits that Principal Sims was employed by the Board from

January 3, 2000 to the present and her duties were temporarily reassigned to Network 11 after the

OIG plan was released. Defendant also admits that Principal Sims was reinstated and resumed her

principal duties at York on November 9, 2017 as announced in a CPS press release. Defendant denies

the remaining allegations of this paragraph.

        44.     The CEO of CPS, Forrest Claypool, issued a statement thanking Principal Sims, and

apologizing to her for the “blight on her reputation.”

        ANSWER:         Defendant admits that former CPS CEO, Forrest Claypool, was quoted in a

CPS press release as saying, “Principal Sims is owed our thanks for her efforts at York, as well as a



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sincere apology for the blight on her reputation.” Defendant denies the remaining allegations of this

paragraph.

        45.     Plaintiff quickly felt the repercussions from the interview with Mr. Ciesil and the

resulting report.

        ANSWER:         Defendant lacks knowledge or information sufficient to form a belief about

the truth of the allegation that Plaintiff quickly felt the repercussions from her interview with Mr.

Ciesil and the resulting report.

        46.     Upon returning to work, Dr. Sims said that her family would seek vengeance against

those responsible for her removal.

        ANSWER:         Defendant denies the allegations of this paragraph.

        47.     Dr. Sims was actively causing staff and her family to work against those that disclosed

the improper practices at York.

        ANSWER:         Defendant denies the allegations of this paragraph.

        48.     In May of 2017, Principal Sims gave Plaintiff a false performance evaluation of “not

proficient.”

        ANSWER:         Defendant denies the allegations of this paragraph.

        49.     Plaintiff disagreed with the performance evaluation and filed a grievance, on which

she prevailed. Nonetheless, Plaintiff’s adjusted evaluation still did not reflect Plaintiff’s actual

performance.

        ANSWER:         Defendant lacks knowledge or information sufficient to form a belief about

the truth of the allegation that Plaintiff disagreed with her performance evaluation. Defendant denies

the remaining allegations of this paragraph.

        50.     Having exhausted all avenues with the York administration, Plaintiff took her concerns

to the Board itself. Mr. Ciesil noted that the school had security cameras and offered to place an



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additional staff member in her classroom. When Plaintiff stated that those measures were insufficient,

Mr. Ciesil responded that when Plaintiff chose to work at York, she clearly knew that she was signing

up to work inside a jail, and that her students would be inmates charged with serious crimes.

          ANSWER:         Defendant admits Plaintiff spoke to Board employees regarding her experience

at York. Defendant also admits Mr. Ciesil emailed Plaintiff’s Counsel on December 17, 2017 and said

the following: “When Ms. Agbefe chose to work at York she clearly knew that she was signing up to

work inside a jail and that her students would be inmates charged with serious crimes.” Defendant

further admits Mr. Ciesil wrote that “[t]here are cameras inside” Plaintiff’s “classroom.” Defendant

also admits Mr. Ciesil offered to place another adult male staff member in Plaintiff’s classroom.

Moreover, Defendant admits that Plaintiff’s Counsel said that Ciesil’s proposals were “inadequate.”

Defendant denies that Plaintiff “exhausted all avenues” with the York administration. Defendant

further denies the remaining allegations of this paragraph.

                                     COUNT I
                    SEX DISCRIMINATION IN VIOLATION OF TITLE IX

          1-50.   Plaintiff repeats and realleges paragraphs 1 through 50 above, as though fully set forth

herein.

ANSWER:           Defendant restates its answers to paragraphs 1 through 50 as if fully set

forth here.

                                   Unlawful Sex-Based Discrimination
                              Against Employee of Federally-Funded Program

          51.     Title IX of the Education Amendments of 1972, 20 U.S.C §§ 1861, et seq. (“Title XI”),

prohibits employment discrimination on the basis of sex in programs receiving federal financial

assistance.




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          ANSWER:        Defendant admits Title IX prohibits discrimination on the basis of sex, but

denies it discriminated against Plaintiff or that it engaged in any unlawful conduct for which it may be

liable.

          52.    At all relevant times, the Board was receiving federal financial assistance.

          ANSWER:        Defendant admits it receives federal financial assistance. Defendant denies the

remaining allegations of this paragraph.

          53.    As a teacher at York, Plaintiff participated in a program or activity that received federal

financial assistance.

          ANSWER:        Defendant denies the allegations of this paragraph.

          54.    The United States Department of Education regulations implementing Title IX

prohibit employment practices that discriminate on the basis of sex.

          ANSWER:        Title IX and the regulations implemented by the United States Department of

Education speak for itself. Defendant denies any statement inconsistent with Title IX and the

Department of Education’s regulations.

          55.    In violation of 34 C.F.R. § 100.3(b)(vi), discriminating against Plaintiff on the basis of

her sex, through the actions set forth above, the Board denied Plaintiff equal opportunity to participate

in employment in the Chicago Public Schools. Plaintiff’s employment opportunities were different

from those afforded others in the Chicago Public Schools, where student discipline policies were

enforced, and sexual harassment of teachers was prohibited.

          ANSWER:        Defendant denies the allegations of this paragraph.

          56. In violation of 34 C.F.R. §100.3(c)(1) and 34 C.F.R. § 100.3(c)(3), the Board unlawfully

subjected Plaintiff to discrimination and retaliation, on the basis of her sex, in its educational practices

at York, including through employment.

          ANSWER:        Defendant denies the allegations of this paragraph.



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                                   Unlawful Discrimination Based on Sex,
                           Depriving Beneficiaries of Federally-Funded Program
                       of Equality of Opportunity and Non-Discriminatory Treatment

        57.        In the alternative, by engaging in and failing to prevent ongoing sex discrimination and

retaliation against Plaintiff, the Board failed to assure equality of opportunity to, and

nondiscriminatory treatment of, its beneficiaries, as required by 34 C.F.R. § 100.3(c)(3).

        ANSWER:            Defendant denies the allegations of this paragraph.

        58.        In violation of 34 C.F.R. §100.3(c)(1) and 34 C.F.R. § 100.3(c)(3), through, inter alia,

the actions set forth in paragraphs 1-56 above, the Board subjected Plaintiff to discrimination on the

basis of sex in its educational practices at York, including through employment.

        ANSWER:            Defendant denies the allegations of this paragraph.

        59.        By failing to prevent ongoing sex discrimination and retaliation against Plaintiff, the

Board failed to assure equality of opportunity to, and nondiscriminatory treatment of, the student

beneficiaries of the federal funding, as required by 34 C.F.R. § 100.3(c)(3).

        ANSWER:            Defendant denies the allegations of this paragraph.

        60.        Defendants discriminated against Ms. Agbefe on the basis of her female sex, in a

manner that resulted in segregation, exclusion, and other discrimination against students, in one or

more of the following ways:

        a. Ms. Agbefe, female, was a member of a protected class;

        b. Ms. Agbefe’s students, all of whom were male, were beneficiaries protected by Title VI

              against segregation, exclusion or other discrimination:

              i.   At all relevant times, most of Ms. Agbefe’s students at York were members of

                   protected racial, ethnic and national origin classes, Black and Hispanic;

              ii. At all relevant times, most of Ms. Agbefe’s students were low income, i.e., qualifying

                   for free or reduced priced lunches;



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      iii. At all relevant times, most of Ms. Agbefe’s students were at high risk for

          academic failure;

      iv. At all relevant times, Ms. Agbefe’s students were housed in maximum security

          detention facilities;

      v. At all relevant times, Ms. Agbefe’s students were at risk for criminal convictions,

          longer-term incarceration, and recidivism;

   c. Violating the Student Code of Conduct, Ms. Agbefe’s students frequently engaged in

      sexual harassment and classroom violence, including taunts, sexually suggestive remarks,

      sexual assaults, and masturbation, in Ms. Agbefe’s classroom, commonly with impunity;

   d. The Student Code of Conduct applied to schools throughout the Chicago Public Schools,

      and compliance was mandatory, but the York administration turned a blind eye to its

      chronic violation in Ms. Agbefe’s classroom, contradicted the applicable procedures of the

      Department of Corrections, and failed to provide disciplinary support;

   e. The York administration regularly underreported infractions of the Student Code of

      Conduct, in an effort to cover up its chronic violations;

   f. The York administration acquiesced in the violations of the Student Code of Conduct in

      Ms. Agbefe’s classroom, and thus endangered the safety of Plaintiff, students, and other

      staff, unlike other schools in the Chicago Public School system, where the Student Code

      of Conduct was enforced, students’ education was supported by consistent disciplinary

      structure, and students and faculty were afforded protection against a sexually hostile

      educational environment;

   g. The Board held the York students to grossly lower standards of conduct than students

      elsewhere in the Chicago Public Schools, although the York students are at higher risk for

      school violence, academic failure, future criminal conduct, and recidivism;



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   h. The York administration thereby failed to provide appropriate discipline to the at- risk

        students in Ms. Agbefe’s classroom, treating them unequally to students elsewhere in the

        Chicago Public Schools, where the Student Code of Conduct was enforced;

   i.   The discriminatory and retaliatory failure of the York administration to inculcate and

        support disciplinary standards, and enforce the Student Code of Conduct, resulted in a

        failure to correct antisocial behaviors, and to foster social and employment skills;

   j.   The failure of the York administration to enforce the Student Code of Conduct put the

        students at increased risk for academic failure, criminal misconduct and recidivism;

   k. The failure of the York administration to enforce the Student Code of Conduct deprived

        Ms. Agbefe’s students of equal education opportunities;

   l.   The York administration’s failure to remediate the sexually abusive environment in Ms.

        Agbefe’s classroom undercut her authority in the classroom, interfering with her

        performance and effectiveness, and impairing the quality of educational services received

        by the students;

   m. The York administration’s failure to remediate the sexually abusive environment in Ms.

        Agbefe’s classroom interfered with the delivery of instruction, depriving her students of

        education that children elsewhere in the Chicago Public Schools received;

   n. A well-educated African-American woman and teacher of the sciences, Ms. Agbefe’s value

        as a role model for her York students was tarnished by the willful failure of the York

        administration to address the misconduct;

   o. Put on clear notice of the failures of the York administration through the investigation

        and report of the OIG, the Board not only failed to intervene, but perpetrated a retaliatory

        cover-up, through the purported investigation and report of Deputy General Counsel

        James Ciesil;



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   p. By disregarding the OIG’s findings supporting Plaintiff’s allegations, and retaliating against

       participants in the investigation, the Board deprived students of equal educational

       opportunity;

   q. In a report specifically naming Plaintiff Agbefe, Board Counsel James Ciesil publicly

       discredited Plaintiff on account of her sex, alleging that other teachers had no security

       concerns, and accusing her of falsehoods;

   r. In his report, Ms. Ciesil disparaged Plaintiff through a sexist stereotype, calling her

       “hypersensitive,” and stating that Plaintiff expected—and should have expected— the

       sexually harassing behavior of the students when she went to teach at York;

   s. Underplaying the credible evidence of sexual harassment at York, in his report, Mr. Ciesil

       contended that the OIG report, and the staff members who were critical of Principal Sims

       and/or York, were racially motivated;

   t. Mr. Ciesil’s biased findings were discriminatory and retaliatory on the basis of sex;

   u. In further disregard of the credible evidence of sexual harassment at York, the Board failed

       to properly investigate, or to seek compliance with system-wide standards, policies, and

       procedures, when the OIG reported that York’s education policies, including its

       employment practices, had a discriminatory impact upon direct beneficiaries of the federal

       funds, in this case, the students themselves;

   v. Defendants denied Plaintiff full access to employment opportunities;

   w. The Board refused Plaintiff’s requests for a reassignment to a different division, despite

       her fear for her personal safety;

   x. Defendant Board issued a negative and false performance evaluation to Plaintiff, thus

       limiting her opportunities for continued employment in the Chicago Public Schools, and

       for employment elsewhere;



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       y. Similarly-situated male individuals employed by the Chicago Public Schools were treated

             more favorably than Plaintiff; and

       z. The Board’s employment discrimination and retaliation infected its students’ entitlement

             to services, programs, and activities, failing to address the urgent educational needs of this

             highly at-risk student population.

       ANSWER:           Defendant denies that it discriminated or retaliated against Plaintiff, and/or

engaged in any unlawful conduct for which it would be liable. Defendant denies the remaining

allegations of this paragraph, including sub-paragraphs (a) through (z).

       61.       The Board had knowledge that Plaintiff was being subjected to sex discrimination and

harassment on a routine basis.

       ANSWER:           Defendant denies Plaintiff was subjected to sex discrimination and therefore

denies the remaining allegations of this paragraph.

       62.       As matters escalated, Plaintiff complained that such actions were affecting her mental

and physical well-being, but her pleas for corrective action were ignored.

       ANSWER:           Defendant admits Plaintiff filed an internal complaint of discrimination and

sexual harassment with the Board’s EOCO and in her complaint she alleged that her “overall health

has declined.” Defendant denies the remaining allegations of this paragraph.

       63.       Through the actions set forth above, Defendants denied Plaintiff equal access to

employment opportunities.

       ANSWER:           Defendant denies the allegations of this paragraph.

       64.       The Board refused to protect Ms. Agbefe against discrimination and harassment,

denying leave/accommodation, issuing false evaluations, and releasing and publishing a report with

her confidential statements unredacted.

       ANSWER:           Defendant denies the allegations of this paragraph.



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          65.   Plaintiff met the Board’s legitimate employment expectations, yet they treated her less

favorably than similarly-situated male employees.

          ANSWER:       Defendant denies the allegations of this paragraph.

          66.   Plaintiff suffered, and continues to suffer, irreparable injury, for which Plaintiff has no

adequate remedy at law.

          ANSWER:       Defendant denies the allegations of this paragraph.

          67.   As a direct and proximate result of the Board’s knowing and intentional actions,

Plaintiff has suffered lost wages, direct physical and emotional injury, loss of reputation, compensatory

damages, and has incurred attorney’s fees and costs.

          ANSWER:       Defendant denies the allegations of this paragraph.

          68.   Defendants’ actions were knowing, intentional, willful, and wanton. The Board

discriminated against Plaintiff with malice and/or reckless indifference to her federally protected

rights.

          ANSWER:       Defendant denies the allegations of this paragraph.

          69.   But for Plaintiff’s female sex, the Board would not have subjected her to the adverse

employment actions.

          ANSWER:       Defendant denies the allegations of this paragraph.

          70.   As a direct and proximate result of the Board’s retaliatory actions, Plaintiff has suffered

lost wages, direct physical injury, emotional distress, loss of reputation, compensatory damages, and

has incurred attorney’s fees and cost

          ANSWER:       Defendant denies the allegations of this paragraph.

          WHEREFORE, Defendant denies that Plaintiff is entitled to any relief whatsoever,

and pray this Honorable Court enter judgment in its favor and award the costs of defending

this lawsuit, and any other relief the Court deems just.



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                                      COUNT II
                         RETALIATION IN VIOLATION OF TITLE IX

          1-70. Plaintiff repeats and realleges paragraphs 1 through 70 above as though fully set forth

herein.

          ANSWER:        Defendant restates its answers to paragraphs 1 through 70 as if fully set

forth here.

                                        Unlawful Sex-Based Retaliation
                                Against Employee of Federally-Funded Program

          71.    Title IX of the Education Amendments of 1972, 20 U.S.C §§ 1861, et seq. (“Title IX”),

prohibits employment discrimination on the basis of sex, including retaliation, in programs receiving

federal financial assistance.

          ANSWER:        Defendant admits Title IX prohibits discrimination and retaliation on the basis

of sex, but denies it discriminated or retaliated against Plaintiff or that it engaged in any unlawful

conduct for which it may be liable. Defendant also admits Title IX protects some individuals who

suffer retaliation after reporting instances of sex discrimination. Defendant denies the remaining

allegations of this paragraph.

          72.    At all relevant times, the Board was receiving federal financial assistance.

          ANSWER:        Defendant admits it receives federal financial assistance. Defendant denies the

remaining allegations of this paragraph.

          73.    As a teacher at York, Plaintiff participated in a program or activity that received federal

financial assistance.

          ANSWER:        Defendant denies the allegations of this paragraph.

          74.    The United States Department of Education regulations implementing Title IX

prohibit employment practices that discriminate on the basis of sex, including through retaliation.




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        ANSWER:         Title IX and the regulations implemented by the United States Department of

Education speak for itself. Defendant denies any statement inconsistent with Title IX and the

Department of Education’s regulations.

        75.     In violation of 34 C.F.R. § 100.3(b)(vi), retaliating against Plaintiff on the basis of her

sex, through the actions set forth above, the Board denied Plaintiff equal opportunity to participate in

employment in the Chicago Public Schools. Plaintiff’s employment opportunities were different from

those afforded others in the Chicago Public Schools, where student discipline policies were enforced,

and sexual harassment of teachers was prohibited.

         ANSWER:        Defendant denies the allegations of this paragraph.

        76. In violation of 34 C.F.R. §100.3(c)(1) and 34 C.F.R. § 100.3(c)(3), the Board unlawfully

subjected Plaintiff to discrimination and retaliation, on the basis of her sex, in its educational practices

at York, including through employment.

        ANSWER:         Defendant denies the allegations of this paragraph.

                                  Unlawful Retaliation Based on Sex,
                     Depriving Beneficiaries of Federally-Funded Program
                    Of Equality of Opportunity and Non-Discriminatory Treatment

        77.     In the alternative, by engaging in and failing to prevent ongoing sex discrimination and

retaliation against Plaintiff, the Board failed to assure equality of opportunity to, and

nondiscriminatory treatment of, its beneficiaries, as required by 34 C.F.R. § 100.3(c)(3).

        ANSWER:         Defendant denies the allegations of this paragraph.

        78.     In violation of 34 C.F.R. §100.3(c)(1) and 34 C.F.R. § 100.3(c)(3), through, inter alia,

the actions set forth in paragraphs 1-77 above, the Board subjected Plaintiff to retaliation on the basis

of sex in its educational practices at York, including through employment.

        ANSWER:         Defendant denies the allegations of this paragraph.




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        79.       By failing to prevent ongoing sex discrimination and retaliation against Plaintiff, the

Board failed to assure equality of opportunity to, and nondiscriminatory treatment of, the student

beneficiaries of the federal funding, as required by 34 C.F.R. § 100.3(c)(3).

        ANSWER:             Defendant denies the allegations of this paragraph.

        80.       Defendants retaliated against Ms. Agbefe on the basis of her female sex, in a manner

that resulted in segregation, exclusion and other discrimination against students, in one or more of the

following ways:

        a. Ms. Agbefe’s students, all of whom were male, were beneficiaries protected by Title VI

              against segregation, exclusion or other discrimination:

        b. At all relevant times, most of Ms. Agbefe’s students at York were members of protected

              racial, ethnic and national origin classes, Black and Hispanic; were low income; and were

              at high risk for academic failure;

        c. At all relevant times, Ms. Agbefe’s students were housed in maximum security detention

              facilities;

        d. At all relevant times, Ms. Agbefe’s students were at risk for criminal convictions, longer-

              term incarceration, and recidivism;

        e. Violating the Student Code of Conduct, Ms. Agbefe’s students frequently engaged in

              sexual harassment and classroom violence, including taunts, sexually suggestive remarks,

              sexual assaults, and masturbation, in Ms. Agbefe’s classroom, commonly with impunity;

        f. The Student Code of Conduct applied to schools throughout the Chicago Public Schools,

              and compliance was mandatory, but the York administration turned a blind eye to its

              chronic violation in Ms. Agbefe’s classroom, contradicted the applicable procedures of the

              Department of Corrections, and failed to provide disciplinary support;




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   g. The York administration regularly underreported infractions of the Student Code of

        Conduct, in an effort to cover up its chronic violations;

   h. The York administration acquiesced in the violations of the Student Code of Conduct in

        Ms. Agbefe’s classroom, and thus endangered the safety of Plaintiff, students, and other

        staff, unlike other schools in the Chicago Public School system, where the Student Code

        of Conduct was enforced, students’ education was supported by consistent disciplinary

        structure, and students and faculty were afforded protection against a sexually hostile

        educational environment;

   i.   The Board held the York students to grossly lower standards of conduct than students

        elsewhere in the Chicago Public Schools, although the York students are at higher risk for

        school violence, academic failure, future criminal conduct, and recidivism;

   j.   The York administration thereby failed to provide appropriate discipline to the at-risk

        students in Ms. Agbefe’s classroom, treating them unequally to students elsewhere in the

        Chicago Public Schools, where the Student Code of Conduct was enforced;

   k. The discriminatory and retaliatory failure of the York administration to inculcate and

        support disciplinary standards, and enforce the Student Code of Conduct, resulted in a

        failure to correct antisocial behaviors, and to foster social and employment skills;

   l.   The failure of the York administration to enforce the Student Code of Conduct put the

        students at increased risk for academic failure, criminal misconduct and recidivism;

   m. The failure of the York administration to enforce the Student Code of Conduct deprived

        Ms. Agbefe’s students of equal education opportunities;

   n. The York administration’s failure to remediate the sexually abusive environment in Ms.

        Agbefe’s classroom undercut her authority in the classroom, interfering with her




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       performance and effectiveness, and impairing the quality of educational services received

       by the students;

   o. The York administration’s failure to remediate the sexually abusive environment in Ms.

       Agbefe’s classroom interfered with the delivery of instruction, depriving her students of

       education that children elsewhere in the Chicago Public Schools received;

   p. A well-educated African-American woman and teacher of the sciences, Ms. Agbefe’s value

       as a role model for her York students was tarnished by the willful failure of the York

       administration to address the misconduct;

   q. Put on clear notice of the failures of the York administration through the investigation

       and report of the OIG, the Board not only failed to intervene, but perpetrated a retaliatory

       cover-up, through the purported investigation and report of Deputy General Counsel

       James Ciesil;

   r. By disregarding the OIG’s findings supporting Plaintiff’s allegations, and retaliating against

       participants in the investigation, the Board deprived students of equal educational

       opportunity;

   s. In a report specifically naming Plaintiff Agbefe, Board Counsel James Ciesil publicly

       discredited Plaintiff on account of her sex, alleging that other teachers had no security

       concerns, and accusing her of falsehoods;

   t. In his report, Ms. Ciesil disparaged Plaintiff through sexist stereotyping, calling her

       “hypersensitive,” and stating that Plaintiff expected—and should have expected—the

       sexually harassing behavior of the students when she went to teach at York;

   u. Underplaying the credible evidence of sexual harassment at York, in his report, Mr. Ciesil

       retaliated by claiming that the OIG report, and the staff members who were critical of




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              Principal Sims and/or York, were racially motivated, thus depriving York students of

              corrective measures to remedy their unequal treatment;

        v. Defendants’ denial of Plaintiff’s full access to employment opportunities deprived York

              students of a well-qualified teacher and role model; and

        w. The Board’s employment discrimination and retaliation infected its students’ entitlement

              to services, programs, and activities, failing to address the urgent educational needs of this

              highly at-risk student population.

        ANSWER:           Defendant denies that it discriminated or retaliated against Plaintiff, and/or

engaged in any unlawful conduct for which it would be liable. Defendant denies the remaining

allegations of this paragraph, including sub-paragraphs (a) through (w).

        81.       Plaintiff suffered, and continues to suffer, irreparable injury, for which Plaintiff has no

adequate remedy at law.

        ANSWER:           Defendant denies the allegations of this paragraph.

        82.       As a direct and proximate result of the Board’s knowing and intentional actions,

Plaintiff has suffered lost wages, direct physical and emotional injury, loss of reputation, compensatory

damages, and has incurred attorney’s fees and costs.

        ANSWER:           Defendant denies the allegations of this paragraph.

        83.       Defendants’ actions were knowing, intentional, wilful, and wanton. The Board

discriminated against Plaintiff with malice and/or reckless indifference to her federally

protected rights.

        ANSWER:           Defendant denies the allegations of this paragraph.

        84.       But for Plaintiff’s female sex, the Board would not have subjected her to the adverse

employment actions, including discrimination and retaliation.

        ANSWER:           Defendant denies the allegations of this paragraph.



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          85.     As a direct and proximate result of the Board’s retaliatory actions, Plaintiff has suffered

lost wages, direct physical injury, emotional distress, loss of reputation, compensatory damages, and

has incurred attorney’s fees and cost.

          ANSWER:         Defendant denies the allegations of this paragraph.

          WHEREFORE, Defendant denies that Plaintiff is entitled to any relief whatsoever,

and prays this Honorable Court enter judgment in its favor and award the costs of defending

this lawsuit, and any other relief the Court deems just.

                                    COUNT III
                   RACE DISCRIMINATION IN VIOLATION OF TITLE VI

          1-85.   Plaintiff repeats and realleges paragraphs 1 through 85 above as though fully set forth

herein.

          ANSWER: Defendant restates its answers to paragraphs 1 through 85 as if fully set forth

here.

          86.     Title VI of the Civil Rights Act of 1964, 42 U.S.C § 2000d, et seq. (“Title VI”),

          ANSWER:         Defendant admits that Title VI is a federal statute enacted by congress, but

denies that it violated the Act or any other statute or common law.

          87.     [sic] prohibits race discrimination against people participating in or benefiting from

any program or activity receiving Federal financial assistance. 42 U.S.C. § 2000d.

          ANSWER:        Defendant admits Title VI prohibits race discrimination, but denies it

discriminated against Plaintiff or that it engaged in any unlawful conduct for which it may be liable.

Defendant denies the remaining allegations of this paragraph.

          88.     At all material times, the Board was receiving federal funding, as contemplated by

Title VI.

          ANSWER: Defendant admits it receives federal financial assistance. Defendant denies the

remaining allegations of this paragraph.


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        89.     As a teacher at York, Plaintiff participated in a program or activity that received

Federal assistance.

        ANSWER:         Defendant denies the allegations of this paragraph.

        90.     A purpose of the federal funding is to provide instruction to CPS students, through

financial support for, inter alia, employment of faculty.

        ANSWER:         Defendant denies the allegations of this paragraph.

        91.     In violation of 34 C.F.R. § 100.3(b)(vi), the Board denied Plaintiff equal opportunity

to participate in the educational program at York as an employee. Plaintiff’s opportunities were

different from those afforded others under the program.

        ANSWER:         Defendant denies the allegations of this paragraph.

        92.     In the alternative, “where a primary objective of Federal financial assistance is not to

provide employment, but discrimination on the ground of race, color, or national origin in the

employment practices of the recipient or other persons subject to the regulation tends, on the ground

of race, color, or national origin, to exclude individuals from participation in, to deny them the benefits

of, or to subject them to discrimination under any program to which this regulation applies, the

foregoing provisions of this paragraph (c) shall apply to the employment practices of the recipient …,

to the extent necessary to assure equality of opportunity to, and nondiscriminatory treatment of,

beneficiaries. 34 C.F.R. §100(c)(3). Moreover, “Recipients may not engage in any employment practice

that discriminates on the basis of race, color, or national origin if such discrimination tends to result

in segregation, exclusion or other discrimination against students.” 34 C.F.R. 100 App. B § VIII.A

        ANSWER:         Title VI speaks for itself and Defendant denies that Plaintiff completely, and

therefore accurately, cites Title VI. Defendant further denies any statements inconsistent with Title

VI. Defendant denies the remaining allegations of this paragraph.




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        93.       In violation of 34 C.F.R. §100.3(c)(1) and 34 C.F.R. § 100.3(c)(3), through, inter alia,

the actions set forth in paragraphs 95-99 below, the Board subjected Plaintiff to discrimination on the

ground of race in its educational practices at York, including through employment.

        ANSWER:           Defendant denies the allegations of this paragraph.

        94.       By failing to prevent ongoing race discrimination and retaliation against Plaintiff, the

Board did not assure equality of opportunity to, and nondiscriminatory treatment of, its beneficiaries,

as required by 34 C.F.R. § 100.3(c)(3).

        ANSWER:           Defendant denies the allegations of this paragraph.

        95.       Defendants discriminated against Ms. Agbefe on the basis of her race, African-

American, in a manner that resulted in segregation, exclusion, and other discrimination against

students, in one or more of the following ways:

        a. Ms. Agbefe, Black, was a member of a protected class;

        b. Ms. Agbefe’s students were beneficiaries protected by Title VI against segregation,

              exclusion, or other discrimination;

        c. At all relevant times, virtually all of Ms. Agbefe’s students at York were members of

              protected racial classes, predominately Black with a substantial number of Hispanic

              students;

        d. At all relevant times, most all of Ms. Agbefe’s students were low income, i.e., qualifying

              for free or reduced priced lunches;

        e. At all relevant times, virtually all of Ms. Agbefe’s students were at high risk for academic

              failure;

        f. At all relevant times, Ms. Agbefe’s students were housed in maximum security pretrial

              detention facilities;




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   g. At all relevant times, virtually all of Ms. Agbefe’s students were at risk for criminal

        convictions, longer-term incarceration, and recidivism;

   h. All of Ms. Agbefe’s students were male;

   i.   Ms. Agbefe’s students frequently engaged in sexual harassment and classroom violence,

        including taunts, sexually suggestive remarks, sexual assaults, and masturbation, in Ms.

        Agbefe’s classroom;

   j.   Such sexual harassment and violence violated the provisions of the Student Code of

        Conduct, thus endangering the safety of Plaintiff, students, and other staff;

   k. The Student Code of Conduct was applied and enforced throughout the Chicago Public

        Schools;

   l.   Although the Student Code of Conduct applied to the students at York, the York

        administration turned a blind eye to its chronic violation in Ms. Agbefe’s classroom, and

        failed to provide disciplinary support;

   m. The York administration regularly underreported infractions of the Student Code of

        Conduct, in an effort to cover up its chronic violations;

   n. The York administration acquiesced in the flagrant sexual harassment in Ms. Agbefe’s

        classroom, unlike other schools in the Chicago Public School system;

   o. In other CPS schools where the Student Code of Conduct was enforced, students’

        education was supported by uniform disciplinary structure, and students and faculty were

        afforded protection against a sexually hostile educational environment;

   p. The failure of the York administration to inculcate and support disciplinary standards, and

        enforce the Student Code of Conduct, resulted in a failure to correct antisocial behaviors,

        and develop social and employment skills;




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   q. The failure of the York administration to enforce the Student Code of Conduct put the

      students at increased risk for academic failure, criminal misconduct and recidivism;

   r. The failure of the York administration to enforce the Student Code of Conduct deprived

      Ms. Agbefe’s students of equal education opportunities;

   s. The York administration’s failure to remediate the sexually abusive environment in Ms.

      Agbefe’s classroom undercut her authority in the classroom, interfering with her

      performance and effectiveness, and impairing the quality of educational services received

      by the students;

   t. The York administration’s failure to remediate the sexually abusive environment in Ms.

      Agbefe’s classroom interfered with the delivery of instruction, depriving her students of

      education that children elsewhere in the Chicago Public Schools received;

   u. A well-educated African-American woman and teacher of the sciences, Ms. Agbefe’s value

      as a role model for her York students was tarnished by the willful failure of the York

      administration to address the misconduct;

   v. Put on clear notice of the failures of the York administration through the investigation

      and report of the OIG, the Board not only failed to intervene, but engaged in a cover-up,

      through the purported investigation and report of Deputy General Counsel James Ciesil;

   w. The Board holds the York students to grossly lower standards of conduct than students

      elsewhere in CPS, although the York students are at higher risk for school violence,

      academic failure, future criminal conduct, and recidivism;

   x. By participating in the OIG investigation, Plaintiff was advocating on behalf of her

      students, who were primarily African-American or Hispanic;




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   y. In a report specifically naming Plaintiff Agbefe, Board Counsel James Ciesil, who is

       Caucasian, publicly discredited Plaintiff on account of her race, by alleging that she was

       the only African-American teacher with security concerns, and accusing her of falsehoods;

   z. James Ciesil disparaged Plaintiff by calling her “hypersensitive,” and stating that Plaintiff

       expected—and should have expected—the sexually harassing behavior of the students

       when she went to teach at York;

   aa. Ciesil’s false and negative findings were racially discriminatory;

   bb. The Board failed to properly investigate, or to seek compliance with system-wide

       standards, policies, and procedures, when the OIG reported that York’s education policies,

       including its employment practices, had a discriminatory impact upon direct beneficiaries

       of the federal funds, in this case, the students themselves;

   cc. By disregarding the OIG’s findings supporting Plaintiff’s allegations, the Board deprived

       students of equal educational opportunity;

   dd. The Board’s employment discrimination infects its students’ entitlement to services,

       programs, and activities to address the urgent educational needs of this highly at-risk

       student population;

   ee. Defendants denied Plaintiff full access to employment opportunities;

   ff. The Board refused Plaintiff’s requests for a reassignment to a different division, despite

       her fear for her personal safety;

   gg. Defendant Board issued a negative and false performance evaluation to Plaintiff; and

   hh. Similarly-situated individuals of a different race employed by the Chicago Public Schools

       were treated more favorably than Plaintiff.




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        ANSWER:         Defendant denies that it discriminated or retaliated against Plaintiff, and/or

engaged in any unlawful conduct for which it would be liable. Defendant denies the remaining

allegations of this paragraph, including sub-paragraphs (a) through (hh).

        96.     The Board was aware that Plaintiff was being subjected to discrimination and

harassment on a routine basis. As matters escalated, Plaintiff complained that such actions were

affecting her mental and physical well-being, but her pleas for corrective action were ignored.

        ANSWER:         Defendant admits Plaintiff filed an internal complaint of discrimination and

sexual harassment with the Board’s EOCO and in her complaint she alleged that her “overall health

has declined.” Defendant denies that Plaintiff was subjected to discrimination or harassment and

therefore denies that it had knowledge of any discrimination or harassment. Defendant denies that

Plaintiff’s pleas for corrective action were ignored. Defendant denies the remaining allegations of this

paragraph.

        97.     Plaintiff suffered, and continues to suffer, irreparable injury.

        ANSWER:         Defendant denies the allegations of this paragraph.

        98.     Plaintiff has no adequate remedy at law.

        ANSWER:         Defendant denies the allegations of this paragraph.

        99.     As a direct and proximate result of the Board’s discriminatory actions, Plaintiff has

suffered lost wages, direct physical and emotional injury, loss of reputation, compensatory damages,

and has incurred attorney’s fees and costs.

        ANSWER:         Defendant denies the allegations of this paragraph.

        WHEREFORE, Defendant denies that Plaintiff is entitled to any relief whatsoever,

and prays this Honorable Court enter judgment in its favor and award the costs of defending

this lawsuit, and any other relief the Court deems just.




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                                      COUNT IV
                         RETALIATION IN VIOLATION OF TITLE VI

          1-99. Plaintiff repeats and realleges paragraphs 1 through 99 above as though fully set forth

herein.

          ANSWER:        Defendant restates its answers to paragraphs 1 through 99 as if fully set

forth here.

                                 Unlawful Race-Based Retaliation
                         Against Employee Of Federally-Funded Program

          100.   Title VI of the Civil Rights Act of 1964, 42 U.S.C §§ 2000d, et seq. (“Title VI”),

prohibits race discrimination against people participating in or benefiting from any program or activity

receiving federal financial assistance. 42 U.S.C. § 2000d. Retaliation based on race is a type of race

discrimination prohibited by Title VI.

          ANSWER:        Defendant admits Title IX prohibits discrimination on the basis of race, color,

and national origin in programs and activities receiving federal financial assistance. Defendant denies

that it discriminated or retaliated against Plaintiff, and/or engaged in any unlawful conduct for which

it would be liable. Defendant denies the remaining allegations of this paragraph.

          101.   At all material times, the Board was receiving federal funding.

          ANSWER:        Defendant admits it receives federal financial assistance. Defendant denies the

remaining allegations of this paragraph.

          102.   As a teacher at York, Plaintiff participated in a program or activity that received federal

assistance.

          ANSWER:        Defendant denies the allegations of this paragraph.

          103.   The United States Department of Education regulations implementing Title VI

prohibit employment practices that are racially discriminatory, including retaliation based on race.




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        ANSWER:          Title VI and the regulations implemented by the United States Department of

Education speaks for itself. Defendant denies any statement inconsistent with Title VI and the

Department of Education’s regulations. Defendant denies the remaining allegations of this paragraph.

        104.    In violation of 34 C.F.R. § 100.3(b)(vi), in retaliation against Plaintiff’s advocacy against

harmful educational practices regarding the dangerous condition of her classroom, the Board denied

Plaintiff equal opportunity to participate in employment in the Chicago Public Schools. Plaintiff’s

employment opportunities were different from those afforded others in the Chicago Public Schools.

        ANSWER:          Defendant denies the allegations of this paragraph.

        105.    In violation of 34 C.F.R. §100.3(c)(1) and 34 C.F.R. § 100.3(c)(3), the Board subjected

Plaintiff to discrimination and retaliation, on the basis of her race, in its educational practices at York,

including through employment.

        ANSWER:          Defendant denies the allegations of this paragraph.

        106.    In the alternative, by failing to prevent ongoing race discrimination and retaliation

against Plaintiff, the Board did not assure equality of opportunity to, and nondiscriminatory treatment

of, its beneficiaries, as required by 34 C.F.R. § 100.3(c)(3).

        ANSWER:          Defendant denies the allegations of this paragraph.

        107.    In violation of 34 C.F.R. §100.3(c)(1) and 34 C.F.R. § 100.3(c)(3), through, inter alia,

the actions set forth above, the Board subjected Plaintiff to retaliation on the basis of race in its

educational practices at York, including through employment.

        ANSWER:          Defendant denies the allegations of this paragraph.




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                                   Unlawful Retaliation Based On Race,
                       Depriving Beneficiaries Of Federally Funded Program
                      Of Equality of Opportunity and Non-Discriminatory Treatment

        108.     By failing to prevent ongoing race discrimination and retaliation against Plaintiff, the

Board failed to assure equality of opportunity to, and nondiscriminatory treatment of, the student

beneficiaries of the federal funding, as required by 34 C.F.R. § 100.3(c)(3).

        ANSWER:            Defendant denies the allegations of this paragraph.

        109.     In violation of 34 C.F.R. § 103.3 (c ) (1) and (c)(3), through, inter alia, the actions set

forth above, the Board subjected Plaintiff to retaliation on the basis of race in its educational practices

at York, including through employment.

        ANSWER:            Defendant denies the allegations of this paragraph.

        110.     Defendants retaliated against Ms. Agbefe on the basis of her race, African- American,

in a manner that resulted in segregation, exclusion and other discrimination against students, in one

or more of the following ways:

        a. Ms. Agbefe, Black, was a member of a protected class;

        b. Ms. Agbefe’s students were beneficiaries protected by Title VI against segregation,

             exclusion or other discrimination:

        i.   At all relevant times, Ms. Agbefe’s students at York were primarily members of protected

             racial, ethnic and national origin classes, Black and Hispanic;

        ii. At all relevant times, most of Ms. Agbefe’s students were low income, i.e., qualifying for

             free or reduced priced lunches;

        iii. At all relevant times, most of Ms. Agbefe’s students were at high risk for academic failure;

        iv. At all relevant times, Ms. Agbefe’s students were housed in maximum security detention

             facilities;




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   v. At all relevant times, Ms. Agbefe’s students were at risk for criminal convictions, longer-

        term incarceration, and recidivism;

   c. All of Ms. Agbefe’s students were male;

   d. Violating the Student Code of Conduct, Ms. Agbefe’s students frequently engaged in

        sexual harassment and classroom violence, including taunts, sexually suggestive remarks,

        sexual assaults, and masturbation, in Ms. Agbefe’s classroom, commonly with impunity;

   e. The Student Code of Conduct applied to schools throughout the Chicago Public Schools,

        and compliance was mandatory;

   f. Although the Student Code of Conduct applied to the students at York, the York

        administration turned a blind eye to its chronic violation in Ms. Agbefe’s classroom,

        contradicted the applicable procedures of the Department of Corrections, and failed to

        provide disciplinary support;

   g. The York administration regularly underreported infractions of the Student Code of

        Conduct, in an effort to cover up its chronic violations;

   h. In retaliation against Ms. Agbefe’s reports of chronic misconduct and flagrant sexual

        harassment in her classroom, the York administration acquiesced in the violations of the

        Student Code of Conduct, and thus endangered the safety of Plaintiff, students, and other

        staff, unlike other schools in the Chicago Public School system, where the Student Code

        of Conduct was enforced, students’ education was supported by uniform disciplinary

        structure, and students and faculty were afforded protection against a sexually hostile

        educational environment;

   i.   The Board held the York students to grossly lower standards of conduct than students

        elsewhere in the Chicago Public Schools, although the York students are at higher risk for

        school violence, academic failure, future criminal conduct, and recidivism;



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   j.   The York administration thereby failed to provide appropriate discipline to the at-risk

        students in Ms. Agbefe’s classroom, treating them unequally to students elsewhere in the

        Chicago Public Schools, where the Student Code of Conduct was enforced;

   k. The discriminatory and retaliatory failure of the York administration to inculcate and

        support disciplinary standards, and enforce the Student Code of Conduct, resulted in a

        failure to correct antisocial behaviors, and to foster social and employment skills;

   l.   The failure of the York administration to enforce the Student Code of Conduct put the

        students at increased risk for academic failure, criminal misconduct and recidivism;

   m. The failure of the York administration to enforce the Student Code of Conduct deprived

        Ms. Agbefe’s student of equal education opportunities;

   n. The York administration’s failure to remediate the sexually abusive environment in Ms.

        Agbefe’s classroom undercut her authority in the classroom, interfering with her

        performance and effectiveness, and impairing the quality of educational services received

        by the students;

   o. The York administration’s failure to remediate the sexually abusive environment in Ms.

        Agbefe’s classroom interfered with the delivery of instruction, depriving her students of

        education that children elsewhere in the Chicago Public Schools received;

   p. A well-educated African-American woman and teacher of the sciences, Ms. Agbefe’s value

        as a role model for her York students was tarnished by the willful failure of the York

        administration to address the misconduct;

   q. Put on clear notice of the failures of the York administration through the investigation

        and report of the OIG, the Board not only failed to intervene, but perpetrated a retaliatory

        cover-up, through the purported investigation and report of Deputy General Counsel

        James Ciesil;



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   r. By disregarding the OIG’s findings supporting Plaintiff’s allegations, and retaliating against

       participants in the investigation, the Board deprived students of equal educational

       opportunity;

   s. Mr. Ciesil’s characterization of the evidence and disparagement of those teachers,

       including Ms. Agbefe, who had participated in the OIG investigation, were calculated to

       retaliate against Plaintiff and her colleagues for participating in the OIG investigation,

       where Ms. Agbefe was advocating on behalf of her students, who were primarily African-

       American or Hispanic;

   t. In a report specifically naming Plaintiff Agbefe, Board Counsel James Ciesil, who is

       Caucasian, publicly discredited Plaintiff on account of her race, alleging that she was the

       only African-American teacher with security concerns, and accusing her of falsehoods;

   u. James Ciesil disparaged Plaintiff by calling her “hypersensitive,” and stating that Plaintiff

       expected—and should have expected—the sexually harassing behavior of the students

       when she went to teach at York;

   v. Ciesil stated in his report that the OIG report, and the staff members who were critical of

       Principal Sims and/or York, were racially motivated;

   w. Ciesil’s false and negative findings were racially discriminatory and retaliatory;

   x. In retaliation against the faculty, including Ms. Agbefe, who participated in the OIG

       investigation, the Board failed to properly investigate, or to seek compliance with system-

       wide standards, policies, and procedures, when the OIG reported that York’s education

       policies, including its employment practices, had a discriminatory impact upon direct

       beneficiaries of the federal funds, in this case, the students themselves;

   y. Defendants denied Plaintiff full access to employment opportunities;




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       z. The Board refused Plaintiff’s requests for a reassignment to a different division, despite

           her fear for her personal safety;

       aa. Defendant Board issued a negative and false performance evaluation to Plaintiff, thus

           limiting her opportunities for continued employment and for employment elsewhere in

           the Chicago Public Schools; and

       bb. Similarly-situated individuals of a different race, ethnicity, or national origin,, employed by

           the Chicago Public Schools, were treated more favorably than Plaintiff.

       cc. The Board’s employment discrimination and retaliation infected its students’ entitlement

           to services, programs, and activities to address the urgent educational needs of this highly

           at-risk student population;

       ANSWER:         Defendant denies that it discriminated or retaliated against Plaintiff, and/or

engaged in any unlawful conduct for which it would be liable. Defendant denies the remaining

allegations of this paragraph, including sub-paragraphs (a) through (cc).

       111.    The Board knew that Plaintiff was being subjected to discrimination and harassment

on a routine basis. As matters escalated, Plaintiff complained that such actions were affecting her

mental and physical well-being, but her pleas for corrective action were ignored.

       a. Defendants denied Plaintiff full access to employment opportunities;

       b. The Board refused Plaintiff’s requests for a reassignment to a different division, despite

           her fear for her personal safety;

       c. Plaintiff quickly felt the repercussions from the interview with Mr. Ciesil and the

           resulting report;

       d. Upon returning to work, Dr. Sims said that her family would seek vengeance against those

           responsible for her removal;

       e. Dr. Sims issued a negative and false performance evaluation to Plaintiff;



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        f. Similarly-situated individuals of a different race were treated more favorably than Plaintiff.

        ANSWER:           Defendant admits Plaintiff filed an internal complaint of discrimination and

sexual harassment with the Board’s EOCO and in her complaint she alleged that her “overall health

has declined.” Defendant denies that Plaintiff was subjected to discrimination or harassment and

therefore denies that it had knowledge of any discrimination or harassment. Defendant denies that

Plaintiff’s pleas for corrective action were ignored. Defendant denies the remaining allegations of this

paragraph, including sub-paragraphs (a) through (f).

        112.      Plaintiff suffered, and continues to suffer, irreparable injury.

        ANSWER:           Defendant denies the allegations of this paragraph.

        113.      Plaintiff has no adequate remedy at law.

        ANSWER:           Defendant denies the allegations of this paragraph.

        114.      As a direct and proximate result of the Board’s retaliatory actions, Plaintiff has suffered

lost wages, direct physical and emotional injury, loss of reputation, compensatory damages, and has

incurred attorney’s fees and costs.

        ANSWER:           Defendant denies the allegations of this paragraph.

        115.      The Board was aware that Plaintiff was being subjected to discrimination and

harassment on a routine basis. As matters escalated, Plaintiff explained that such actions were affecting

her mental and physical well-being, but her pleas for corrective action were ignored.

        ANSWER:           Defendant admits Plaintiff filed an internal complaint of discrimination and

sexual harassment with the Board’s EOCO and in her complaint she alleged that her “overall health

has declined.” Defendant denies that Plaintiff was subjected to discrimination or harassment and

therefore denies that it had knowledge of any discrimination or harassment. Defendant denies that

Plaintiff’s pleas for corrective action were ignored. Defendant denies the remaining allegations of

this paragraph.



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        116.    In response to this protected activity, the Board retaliated against Plaintiff by refusing

to protect her against discrimination and harassment, denying leave/accommodation, issuing false

evaluations, and releasing and publishing a report with her statements unredacted.

        ANSWER:         Defendant denies the allegations of this paragraph.

        117.    The Board retaliated against Plaintiff with malice and/or reckless indifference to her

federally protected rights.

        ANSWER:         Defendant denies the allegations of this paragraph.

        118.    Plaintiff met the Board’s legitimate employment expectations, yet they treated her less

favorably than similarly situated employees who did not engage in statutorily protected activity.

        ANSWER:         Defendant denies the allegations of this paragraph.

        119.    The nondiscriminatory reasons offered by the Defendants for the adverse action are

false and pretextual.

        ANSWER:         Defendant denies the allegations of this paragraph.

        120.    But for Plaintiff’s race and protected activities, the Board would not have subjected

her to the adverse employment actions.

        ANSWER:         Defendant denies the allegations of this paragraph.

        121.    As a direct and proximate result of the Board’s retaliatory actions, Plaintiff has suffered

lost wages, emotional distress, direct physical injury, loss of reputation, compensatory damages, and

has incurred attorney’s fees and costs.

        ANSWER:         Defendant denies the allegations of this paragraph.

        WHEREFORE, Defendant denies that Plaintiff is entitled to any relief whatsoever,

and prays this Honorable Court enter judgment in its favor and award the costs of defending

this lawsuit, and any other relief the Court deems just.




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                             COUNT V VIOLATION OF 42 U.S.C. § 1983
                             DEPRIVATION OF EQUAL PROTECTION

        1-121. Plaintiff Smith repeats and realleges paragraphs 1 through 121 above as though fully

set forth herein.

        ANSWER: Defendant restates its answers to paragraphs 1 through 121 as if fully set

forth here.

        122.    At all times relevant herein, Defendant Board and its officers were acting under color

of state law.

        ANSWER:         Defendant denies the allegations of this paragraph.

        123.    The Board deprived Plaintiff of her right to Equal Protection of the laws by failing to

investigate Plaintiff’s complaints of sexual harassment and hostile work environment, failing to

appropriately discipline students and maintain order in the classroom, covering up and/or failing to

report student behavioral issues, and manifesting deliberate indifference to the on-going harassment

of Plaintiff and other female employees.

        ANSWER:         Defendant denies the allegations of this paragraph.

        124.    The Board has unconstitutional policies or customs of failing to report sexually-

motivated misbehavior of the students, failing to investigate the misconduct of the students at York,

failing to adequately train and supervise School District employees with regard to maintaining,

preserving, and protecting teachers and staff from violations of their rights to a harassment-free

workplace, personal security, bodily integrity, and equal protection of the laws.

        ANSWER:         Defendant denies the allegations of this paragraph.

        125.    On information and belief, the School District has followed these unconstitutional

customs and policies not only with regards to Plaintiff, but also with regard to criminal and/or tortious

misconduct committed against other school district employees.

        ANSWER:         Defendant denies the allegations of this paragraph.


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        126.    The School District’s policies and/or practices constitute disparate treatment of

females and had a disparate impact against female employees.

        ANSWER:         Defendant denies the allegations of this paragraph.

        127.    As a proximate result of the Defendant's actions, Agbefe has suffered lost wages

and/or benefits, emotional distress, damage to her reputation, compensatory damages, and has

incurred attorney's fees and costs.

        ANSWER:         Defendant denies the allegations of this paragraph.

        WHEREFORE, Defendant denies that Plaintiff is entitled to any relief whatsoever,

and prays this Honorable Court enter judgment in its favor and award the costs of defending

this lawsuit, and any other relief the Court deems just.

                                            JURY DEMAND

        The Defendant Board of Education of the City of Chicago demands a trial by jury on all

issues raised in the foregoing complaint.

Dated: July 28, 2021                   Respectfully submitted,

                                       DEFENDANT BOARD OF EDUCATION OF THE
                                       CITY OF CHICAGO

                                       JOSEPH MORIARTY, General Counsel

                                       By:     /s/ Rashad A. Simmons
                                               Rashad A. Simmons, Atty No. 6319497
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                                      AFFIRMATIVE DEFENSES

        Defendant Board of Education of the City of Chicago, without waiving and subject to its

answers and objections to Plaintiff’s Complaint, asserts the following for its affirmative defenses:

        1.       All decisions relating to Plaintiff’s employment were made in good faith and based on

legitimate, nondiscriminatory, and non-retaliatory business reasons.

        2.       Defendant exercised reasonable care to prevent and correct promptly any alleged

discriminatory, retaliatory, or harassing behavior, and some or all of the Plaintiff’s claims are barred

due to Plaintiff’s unreasonable failure to take advantage of preventative or corrective opportunities

provided by Defendant or otherwise in a timely and effective manner.

        3.       While Defendant expressly denies that any of its employees, officers or agents acted

in any manner that would constitute a violation of any law, if any such violation occurred, it occurred

outside the scope of employment or agency and without the consent of Defendant. Defendant did

not authorize, condone, ratify, tolerate, or know of any illegal acts, but instead prohibited such acts,

and such conduct may not be attributed to Defendant through principles of agency, respondeat superior,

or otherwise.

        4.       If the actions complained of were those of an independent third-party beyond

Defendant’s control, and if Defendant did not authorize, condone, ratify, tolerate, or know of any

illegal acts, but instead prohibited such acts, the conduct alleged cannot be attributed to Defendant,

and as a result, Plaintiff is not entitled to relief.

        5.       Plaintiff’s claim of sexual harassment is barred because Defendant did not have notice

of the alleged sexual harassment.

        6.       Without conceding damages, if Plaintiff is entitled to recover any medical damages

from the Board, the Board is entitled to set-off for damages paid under the Exclusive Remedy

provision of the Illinois Workers’ Compensation Act (820 ILCS 305/5(a) (West 2018)).



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        7.      Without conceding damages, if Plaintiff is entitled to recover any medical damages

from the Board, the Board is entitled to set-off for damages not caused by any alleged sexual

harassment or retaliation.

        8.      Plaintiff has failed to mitigate her alleged damages, if any. Thus, all or part of Plaintiff’s

claims are barred if Plaintiff has failed, refused, or neglected to mitigate or avoid the damages

complained of in Plaintiff’s First Amended Complaint, if any.

        9.      Plaintiff’s claims are barred by the applicable statute of limitations.

        10.     Plaintiff may not maintain a claim for punitive damages against the Board of Education

of the City of Chicago. City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 271 (1981); see also 745 ILCS

10/2-109.

        11.     Defendant reserves the right to assert additional affirmative defenses or other defenses

and file such amended answers and defenses as may be appropriate as established by the case during

the course of its investigation, discovery and this litigation.

Dated: July 28, 2021                     Respectfully submitted,

                                         DEFENDANT BOARD OF EDUCATION OF THE
                                         CITY OF CHICAGO

                                         JOSEPH MORIARTY, General Counsel

                                         By:      /s/ Rashad A. Simmons
                                                  Rashad A. Simmons, Atty No. 6319497

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                                   CERTIFICATE OF SERVICE

        I, Rashad A. Simmons, certify that on July 28, 2021, a copy of the foregoing was filed

electronically using the Court’s electronic filing system. Notice of this filing will be sent to counsel of

record by operation of the Court’s electronic filing system, and parties may also access this filing

through the Court’s system.


                                         By:     /s/ Rashad A. Simmons
                                                 Rashad A. Simmons, ARDC No. 6319497




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